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 7

 8                               UNITED STATES DISTRICT COURT
 9                              NORTHERN DISTRICT OF CALIFORNIA
10                                     OAKLAND DIVISION
11
     WHATSAPP INC., a Delaware corporation,       Case No. 4:19-cv-07123-PJH
12   and FACEBOOK, INC., a Delaware
     corporation,                                 DEFENDANTS NSO GROUP
13                                                TECHNOLOGIES LIMITED
                  Plaintiffs,                     AND Q CYBER TECHNOLOGIES
14                                                LIMITED’S ADMINISTRATIVE
           v.                                     MOTION TO CONSIDER WHETHER
15                                                ANOTHER PARTY’S MATERIAL
     NSO GROUP TECHNOLOGIES LIMITED               SHOULD BE SEALED
16   and Q CYBER TECHNOLOGIES LIMITED,
17                Defendants.
                                                  Action Filed: 10/29/2019
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     DEFENDANTS’ MOTION TO CONSIDER                                   Case No. 4:19-cv-07123-PJH
     WHETHER ANOTHER PARTY’S
     MATERIAL SHOULD BE SEALED
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 1   TO THE COURT AND PLAINTIFFS AND THEIR COUNSEL OF RECORD:
 2          PLEASE TAKE NOTICE that pursuant to Civil Local Rules 7-11 and 79-5(f), Defendants

 3   NSO Group Technologies Limited and Q Cyber Technologies Limited (“Defendants”) move the

 4   Court to consider whether certain portions of Defendants’ Surreply Re Motion to Compel

 5   Discovery Regarding AWS Server (“Surreply”) and certain portions of and exhibit attached to the

 6   Supplemental Declaration of Aaron Craig in Support of the Surreply (“Supp. Craig Declaration”)

 7   should be sealed. Unredacted versions of the Surreply, the Craig Declaration and the Exhibits to

 8   the Supp. Craig Declaration attached as Exhibits 1, 2 and 3 to the declaration of Christine Choi

 9   filed currently herewith.

10          Defendants’ Surreply makes reference to and describes a document produced by Plaintiffs

11   WhatsApp LLC, f/k/a WhatsApp Inc. (“WhatsApp”), and Meta Platforms, Inc., f/k/a Facebook,

12   Inc. (“Facebook” and, collectively, “Plaintiffs”) that Plaintiffs have designated as “Highly

13   Confidential - Attorney’s Eyes Only” under the Stipulated Protective Order (Dkt. No. 132).

14   Defendants have described this document in the Supp. Craig Declaration and attached this

15   document as Exhibit D to the Supp. Craig Declaration. Accordingly, Defendants move the Court

16   to consider whether Exhibit D to the Supp. Craig Declaration and the references to that exhibit in

17   the Surreply and the Supp. Craig Declaration (Choi Decl. Exhs. 1-3) should be sealed.

18          Defendants take no position as to whether these materials or information derived from these

19   materials satisfy the requirements for sealing.      They reserve the right to challenge any

20   confidentiality designations and to oppose any statement by Plaintiffs in accordance with Civil

21   Local Rule 79-5(f)(4).

22          For the reasons set forth above, Defendants respectfully request that the Court permit

23   Defendants’ unredacted Surreply, Supp. Craig Declaration and Exhibit D thereto, to be

24   conditionally filed under seal.

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      DEFENDANTS’ MOTION TO CONSIDER                  1                      Case No. 4:19-cv-07123-PJH
      WHETHER ANOTHER PARTY’S MATERIAL
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 1   DATED: July 19, 2024                      KING & SPALDING LLP
 2

 3                                             By: /s/ Joseph N. Akrotirianakis
                                                   JOSEPH N. AKROTIRIANAKIS
 4
                                                   AARON S. CRAIG
 5
                                                   Attorneys for Defendants NSO GROUP
 6                                                 TECHNOLOGIES LIMITED and Q
                                                   CYBER TECHNOLOGIES LIMITED
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      DEFENDANTS’ MOTION TO CONSIDER       2                      Case No. 4:19-cv-07123-PJH
      WHETHER ANOTHER PARTY’S
      MATERIAL SHOULD BE SEALED
